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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEW JERSEY
Caption in compliance with D.N.J. LBR 9004-1(b)
                                                               Order Filed on June 4, 2021
                                                               by Clerk,
HILL WALLACK LLP                                               U.S. Bankruptcy Court
Elizabeth K. Holdren, Esq.                                     District of New Jersey
21 Roszel Road
P.O. Box 5226
Princeton, NJ 08543
Phone: 609-924-0808
Email: eholdren@hillwallack.com
Attorneys for NewRez LLC d/b/a Shellpoint
Mortgage Servicing

                                                  Case No. 19-27162-SLM
In Re:
                                                  Chapter 13
Ethan C Barshay aka EB Design Works,
                                                  Hearing:
                     Debtor.
                                                  Judge: Stacey L. Meisel

         ORDER RESOLVING CREDITOR’S CERTIFICATION OF DEFAULT

    The relief set forth on the following pages, numbered two (2) through three (3), is hereby
ORDERED.




DATED: June 4, 2021
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_____________________________________________________________________________________

Applicant:                            NewRez LLC d/b/a Shellpoint Mortgage Servicing
                                      (“Secured Creditor”)
Applicant’s Counsel:                  Hill Wallack LLP
Debtor’s Counsel:                     Bruce H. Levitt, Esq.
Property Involved (“Collateral”):     36 Westview Road, Verona, NJ 07044

Relief sought:

   ✓       Motion for Relief
           Motion to dismiss
           Motion for prospective relief to prevent imposition of automatic stay
           against the collateral by debtor’s future bankruptcy filings

For good cause shown, it is ORDERED that Applicant’s Motion for Relief is resolved, subject
to the following conditions:

   1. Status of post-petition arrearages:

       •     The Debtor is overdue for 3 months from 03/01/2021 through 05/01/2021.
       •     The Debtor is due for 3 months (03/01/2021 through 05/01/2021) in the amount of
             $2,121.11 per month.
       •     Debtor has a suspense balance of $44.82.

       Total Arrearages Due $6,318.51.

   2. Debtor must cure all post-petition arrearages, as follows:

       •     Lump sum payment of $6,318.51 should be made so that it is received by Secured
             Creditor no later than 06/18/2021.
       •     Regular monthly payments resume on 06/01/2021 in the amount of $2,121.11 and are
             subject to change.
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   3. Payments to the Secured Creditor shall be made to the following address:

                              Shellpoint Mortgage Servicing
                              PO Box 740039
                              Cincinnati, OH 45274-0039

   4. In the event of Default:

     If the Debtor fails to make the immediate payment specified above when due or fails to
make any regular monthly payment or any additional monthly cure payment within thirty (30)
days of the date the payments are due, then the Secured Creditor may obtain an Order Vacating
the Automatic Stay as to the Collateral by filing, with the Bankruptcy Court, a Certification
specifying the Debtor’s failure to comply with this Order. At the time the Certification is filed
with the court, a copy of the Certification shall be sent to the Chapter 13 Trustee, the Debtor, and
the Debtor’s attorney.

   5. Award of Attorneys’ Fees:

   ✓ The Applicant is awarded attorney’s fees of $200.00, and costs of $0.00. The fees and
costs are payable through the Chapter 13 plan.
